Case 1:20-cv-07311-LAK Document 153 Filed 05/15/23 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ewe er ee en nm ew eRe ee ee ee ee ee ee ee ee ee x
E, JEAN CARROLL,
Plaintiff,
-against- 22-cv-10016 (LAK)
20-cv-7311 (LAK)
DONALD J. TRUMP,
Defendant.
wm Rh ee eK er re eee ee x

ORDER

LEWIS A. KAPLAN, District Judge.

Reuben Larson, appearing pro se, has petitioned to “address” and “remonstrance” this
Court in relation to the above-captioned matter. Applying a liberal interpretation of his pro se filing,
the Court construes his petition as a motion to intervene. That motion is denied both as a matter of
law and in the Court’s discretion.

SO ORDERED.

Dated: May 11, 2023 L (,

Lewis A. Kaplan
United States District Judge
